Filed 09/21/12                                                 Case 09-28900                                                      Doc 68
     FORM L51 Final Decree (v.7.06)                                                                                 09−28900 − C − 7

                                      UNITED STATES BANKRUPTCY COURT                                             FILED
                                           Eastern District of California
                                            Robert T Matsui United States Courthouse                            9/21/12
                                                     501 I Street, Suite 3−200
                                                      Sacramento, CA 95814                             CLERK, U.S. BANKRUPTCY COURT
                                                             (916) 930−4400                           EASTERN DISTRICT OF CALIFORNIA
                                                          www.caeb.uscourts.gov
                                                          M−F 9:00 AM − 4:00 PM                                      fdis


                                                             FINAL DECREE

     Case Number:             09−28900 − C − 7
     Debtor Name(s), Social Security Number(s), and Address(es):


         Jestina L. Pickett
          xxx−xx−6520


         28 E Legacy Dr
         Tracy, CA 95391



     Trustee:                          Gary Farrar
                                       PO Box 576097
                                       Modesto, CA 95357

     Telephone Number:                 209−551−1962


     Office of the United States Trustee:

         For cases in the Sacramento Division and Modesto Division: 501 I Street, Room 7−500, Sacramento, CA 95814
         For cases in the Fresno Division: 2500 Tulare Street, Suite 1401, Fresno, CA 93721


          It appearing to the court that the Trustee in the above−entitled case has completed administration of this estate,

         IT IS ORDERED that the estate is hereby closed, that the trustee is hereby discharged, and that the trustee's bond is
         hereby released from further liability, except any liability which may have accrued during the time such bond was in
         effect for the estate of this case.


     Dated:                                                            For the Court,
     9/21/12                                                           Wayne Blackwelder , Clerk
